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                         UNITED STATES DISTRICT COURT

                        DISTRICT OF COLUMBIA
------------------------------------X
UNITED STATES OF AMERICA,            :   Criminal No. 1:21 c r40 (TNM)
                                     :
          v.                         :
                                     :
PATRICK MCCAUGHEY III,               :
                                     :
               Defendant.            :   August 24, 2022
------------------------------------X


            DEFENDANT MCCAUGHEY’S TRIAL BRIEF RE: ELEMENTS

      The defendant Patrick McCaughey III concurs with the elements as set forth by the

Government (ECF# 422) with one crucial exception: For the counts involving alleged use

of a “deadly or dangerous weapon,” to wit, Counts 24 & 25 (18 U.S.C. §111(b)), and

Counts 37 and 45 (18 U.S.C. §1753(b)(1)(A)), there should be one element in addition to

those set forth by the Government as to those offenses, as follows:

“The object must be capable of causing serious bodily injury or death to another

person and the defendant must use it in that manner.”

        This language is taken directly from U.S. v. Arrington, 309 F.3d 40, 45 (DC Cir.

2002), a case involving the alleged use of an automobile which, as in the riot shield at

issue herein, is not designed to be a dangerous or deadly weapon.

        “But what if the weapon is one that is deadly only if used in a certain
        manner, like Arrington's car? To this query, the government responds
        that a distinction between the two kinds of weapons is indeed
        appropriate. For an object that is not inherently deadly, the government
        concedes that the following additional element is required: (4) the object
        must be capable of causing serious bodily injury or death to another
        person and the defendant must use it in that manner. Id. (citing, United
        States v. Murphy, 35 F.3d 143, 147 (4th Cir.1994); 1 Leonard B. Sand et
        al., Modern Federal Jury Instructions (Criminal) ¶ 14.01, at 14–25 (2002);
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          2 Kevin F. O'Malley et al., Federal Jury Practice & Instructions (Criminal)
          § 24.06, at 68, 71 (5th ed.2000). That is, for a car to qualify as a deadly
          weapon, the defendant must use it as a deadly weapon and not simply
          as a mode of transportation.”

      In this case, if the defendant was using the defensive riot shield defensively and

not in a manner likely to cause serious physical injury or death, then he ought not be

convicted of the subject counts.

 Dated:        Stamford, Connecticut
               August 24, 2022

                                             By:
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                               CERTIFICATE OF SERVICE

      I hereby certify that a copy of the foregoing was filed and served

electronically on all parties of record, on this 24th day of August in the year of

our Lord 2022.

                                    ___________________________________
                                    Lindy R. Urso
